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                                                                       July 30, 2021

 VIA ECF

 Hon. Tonianne J. Bongiovanni, U.S.M.J.
 Clarkson S. Fisher Federal Building
  and U.S. Courthouse
 402 E. State Street
 Trenton, New Jersey 08608

            Re:       UMG Recordings, Inc. et al. v. RCN Telecom Services, LLC et al.
                      Civil Action No. 19-17272 (MAS) (TJB)

 Dear Judge Bongiovanni:

        This firm, along with our co-counsel Jenner & Block LLP and Stein Mitchell Beato &
 Missner LLP, represents Plaintiffs/Counterclaim Defendants (“Plaintiffs”) and Counterclaim
 Defendant Recording Industry Association of America, Inc. (“RIAA”) in the referenced
 matter. We jointly write with Counterclaim-Defendant Rightscorp, Inc. (“Rightscorp”) to
 request an extension of time for Plaintiffs, RIAA, and Rightscorp to file their respective
 responses to Defendants’ July 20, 2021 Amended Counterclaim (ECF No. 161) from August 3,
 2021 to August 31, 2021.

         The primary reason for this extension is that Brad Newberg, counsel for Rightscorp,
 intends to file a motion to withdraw from the case this week because he is leaving private
 practice, and Rightscorp requires additional time to identify and secure replacement counsel. As
 it stands, Rightscorp’s new counsel will not have adequate time to become educated on the case
 and respond to Defendants’ Amended Counterclaims.

        Defendants RCN Telecom Services, LLC et al. have consented to the August 31, 2021
 extension date, and prefer that Plaintiffs, RIAA, and Rightscorp all respond on that same
 proposed due date. We respectfully request the Court’s approval of that extension.




 McElroy, Deutsch, Mulvaney & Carpenter, LLP
 COLORADO     · CONNECTICUT    · DELAWARE      · FLORIDA   · MASSACHUSETTS   · NEW JERSEY   · NEW YORK   · PENNSYLVANIA   · RHODE ISLAND
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        We have included a “So Ordered” provision at the end of this letter in the hope that this
 extension is acceptable to the Court.

                                                        Respectfully yours,

                                           MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP




                                                         GEORGE C. JONES

 cc: All counsel (via ECF and e-mail)




           SO ORDERED this _____ day of _________________, 2021.



                                                       _____________________________________
                                                       HON. TONIANNE J. BONGIOVANNI
                                                       United States Magistrate Judge




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